3.

4.

6.

Case 1:21-cv-10960-RWZ Document 1-2 Filed 06/08/21 Page 1of1

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Title of case (name of first party on each side only) Stefano Granata v. Maura Healey, in her official capacity as

Attorney General of the Commonweaith of Massachusetts

Category in which the case belongs based upon the numbered nature of suit code listed on the civil cover sheet. (See local

rule 40.1(a)(1)).

lv il. 110, 130, 190, 196, 370, 375, 376, 440, 442, 443, 445, 446, 448, 470, 751, 820*,

 

 

 

 

625, 690, 710, 720, 740, 790, 791, 861-865, 870, 871, 890, 950.
“Also complete AO 120 or AO 1214 - for patent, trademark or copyright cases.

L 160, 400, 410, 441, 535, 830*, 835*, 850, 880, 891, 893, R.23, REGARDLESS OF NATURE OF SUIT.

840*, 895, 896, 899,

Il 120, 140, 150, 154, 152, 153, 195, 210, 220, 230, 240, 245, 290, 310, 315, 320, 330, 340, 345, 350, 355, 360, 362,
365, 367, 368, 371, 380, 385, 422, 423, 430, 450, 460, 462, 463, 465, 480, 485, 490, 51 0, 530, 540, 550, 555, 560,

Title and number, if any, of related cases, (See local rule 40.1(g)). If more than one prior related case has been filed in this

district please indicate the title and number of the first filed case in this court.

N/A

Has a prior action between the same parties and based on the same claim ever been filed in this court?
No

YES

Does the complaint in this case question the constitutionality of an act of congress affecting the public interest? (See 28 USC

§2403)

 

YES

 

If so, is the U.S.A. or an officer, agent or employee of the U.S. a party?

 

YES

 

Is this case required to be heard and determined by a district court of three judges pursuant to
YES

 

 

 

 

no [7
NO v

title 28 USC §2284?

NO v

 

 

 

 

 

 

 

 

Do all of the parties in this action, excluding governmental agencies of the United States and the Commonwealth of
Massachusetts (“governmental agencies”), residing in Massachusetts reside in "Tl @ division? - Vv] Local Rule 40.1(d)),

 

YES

A. If yes, in which divis et _all of the non-governmental Pt reside?

Central Division

 

Eastern Division

 

NO

 

 

 

Western Division

 

B. If no, in which division do the majority of the plaintiffs or the only parties, excluding governmental agencies,

residing in Massachusetts reside?

 

 

 

 

 

 

Eastern Division v Central Division

 

 

 

 

 

Western Division

 

If filing a Notice of Removal - are there any motions pending in the state court requiring the attention of this Court? (If yes,

submit a separate sheet identifying the motions)

 

 

 

YES

 

(PLEASE TYPE OR PRINT)
ATTORNEY'S NAME Richard C. Chambers, Jr., Esq.

ADDRESS Chambers Law Office, 220 Broadway, Suite 404, Lynnfield, MA 01940

TELEPHONE No. 781-581-2031

 

 

 

NO ¥

 

(CategoryForm11 -2020.wpd )
